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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

CHRISTOPHER E. BROWN,                         )
an individual,                                )
                                              )       CASE NO.:
               Plaintiff,                     )
vs.                                           )
                                              )
53RD WOODLAWN                                 )
KIMBARK SHOPPING CENTER, INC.,                )
an Illinois Corporation,                      )
                                              )
               Defendant.                     )
                                              /

                                         COMPLAINT

       Plaintiff, CHRISTOPHER E. BROWN, through his undersigned counsel, hereby files

this Complaint and sues 53RD WOODLAWN KIMBARK SHOPPING CENTER, INC., an

Illinois Corporation, for injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181

et seq., (“AMERICANS WITH DISABILITIES ACT” or “ADA”) and alleges:

                               JURISDICTION AND PARTIES

1.     This is an action for declaratory and injunctive relief pursuant to Title III of the

       Americans With Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter referred to as

       the “ADA”). This Court is vested with original jurisdiction pursuant to 28 U.S.C. §§

       1331 and 1343.

2.     Venue is proper in this Court pursuant to 28 U.S.C. §1391(b).

3.     Plaintiff, CHRISTOPHER E. BROWN, (hereinafter referred to as “MR. BROWN”), is a

       resident of the State of New York, however, he frequently travels to Chicago as a tourist




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     to watch sporting events involving New York baseball and hockey teams and to enjoy the

     shops, restaurants and other venues in town.

4.   Plaintiff is a qualified individual with a disability under the ADA. MR. BROWN suffers

     from Arthrogryposis, which causes him to be confined to a wheelchair. The condition

     also causes atrophy in his arms, hands, shoulders, and elbows, which makes it extremely

     difficult for him to reach for, grip, and manipulate objects.

5.   Due to his disability, Plaintiff MR. BROWN is substantially impaired in several major

     life activities and requires a wheelchair for mobility.

6.   Defendant, 53RD WOODLAWN KIMBARK SHOPPING CENTER, INC., an Illinois

     Corporation, (hereinafter referred to as “Kimbark” or “Defendant”), is registered to do

     business in the State of Illinois. Upon information and belief, Kimbark is the owner

     and/or operator of the real property and improvements which are the subject of this

     action, to wit: the Property, known as Kimbark Plaza, generally located at 1200 East 53rd

     Street, Chicago, Illinois 60615.

7.   All events giving rise to this lawsuit occurred in the Northern District of Illinois.

                    COUNT I - VIOLATION OF TITLE III OF THE
                      AMERICANS WITH DISABILITIES ACT

8.   Plaintiff realleges and reavers the preceding paragraphs as if they were expressly restated

     herein.

9.   The Property is a shopping center and is open to the public and provides goods and

     services to the public.




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10.   Plaintiff has visited the Property, generally located at 1200 East 53rd Street, Chicago,

      Illinois 60615 during the past year, and attempted to utilize the goods and services

      offered at the Property.

11.   While at the Property, MR. BROWN experienced serious difficulty accessing the goods

      and utilizing the services therein due to the architectural barriers discussed herein.

12.   MR. BROWN continues to desire to visit the Property, but fears that he will again

      encounter serious difficulty due to the barriers discussed herein.

13.   MR. BROWN plans to and will visit the Property in the near future to utilize the goods

      and services offered thereon.

14.   Defendant is in violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.302 et seq. and

      is discriminating against the Plaintiff due to Defendant’s failure to provide and/or correct,

      inter alia, the following barriers to access which were personally observed and

      encountered by Plaintiff:

             A.      Plaintiff encountered inaccessible parking due to access aisles with

                     improper dimensions by the main Kimbark Plaza sign and near the Pearle

                     tenant space;

             B.      Plaintiff encountered inaccessible parking due to a ramp improperly

                     placed in the access aisle near Harold’s Chicken;

             C.      Plaintiff encountered inaccessible parking due to excessive slopes

                     throughout, and pavement in severe disrepair near Hyde Park Produce

                     Market and by the main Kimbark Plaza sign;




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             D.      Plaintiff encountered inaccessible parking due to inadequate signage

                     marking the disabled use spaces which are placed where they may become

                     obstructed by parked vehicles;

             E.      Plaintiff encountered inaccessible curb cuts throughout the Property due to

                     pavement in disrepair, excessive slopes and lack of smooth transitions;

                     and

             F.      Plaintiff encountered difficulty traversing the sidewalks throughout the

                     Property due to pavement in disrepair and excessive slopes.

15.   Defendant either does not have a policy to assist people with disabilities or refuses to

      enforce such a policy if it does exist.

16.   Independent of his intent to return as a patron to the Property, Plaintiff additionally

      intends to return to the Property as an ADA tester to determine whether the barriers to

      access discussed herein have been remedied.

17.   Removal of the barriers to access located on the Property is readily achievable,

      reasonably feasible and easily accomplishable without placing an undue burden on

      Defendant.

18.   Removal of the barriers to access located on the Property would allow Plaintiff to fully

      utilize the goods and services located therein.

19.   The Plaintiff has been obligated to retain undersigned counsel for the filing and

      prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees,

      costs, and expenses paid by Defendant.

                                   PRAYER FOR RELIEF



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       WHEREFORE, the Plaintiff demands judgment against Defendant, and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by

               Defendant is in violation of the ADA;

       B.      That the Court enter an Order directing Defendant to alter its

               facility to make it accessible and usable by individuals with

               disabilities to the full extent required by Title III of the ADA;

       C.      That the Court enter an Order directing Defendant to evaluate and

               neutralize its policies and procedures towards persons with

               disabilities for such reasonable time so as to allow Defendant to

               undertake and complete corrective procedures;

       D.      That the Court award reasonable attorneys’ fees, costs (including

               expert fees), and other expenses of suit, to the Plaintiff; and

       E.      That the Court award such other and further relief as it deems

               necessary, just and proper.

                                      Respectfully Submitted,

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                                      By: /s/ Michael P. Kelley
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                                      Attorney for Plaintiff
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